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VIA ELECTRONIC FILING

The Honorable Ona T. Wang
U.S. District Court, S.D.N.Y.
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, New York 10007

Re:    In re Application of Sukhbaatar Batbold, 21-mc-00218-RA (S.D.N.Y.)

Dear Judge Wang:

We respectfully submit this letter on behalf of Petitioner Sukhbaatar Batbold to update the
Court on the status of the foreign cases that form the basis of this action under 28 U.S.C.
§ 1782. As the Court knows, Mr. Batbold commenced this action to seek discovery for use
in proceedings in Hong Kong, Singapore, England, Jersey, and in Mongolia. See Dkt. 15.
The Court granted Mr. Batbold’s application on October 6, 2021, permitting him to serve
subpoenas on K2. Dkt. 53. Mr. Batbold subsequently informed the Court of related
proceedings brought against him in the British Virgin Islands, see Dkt. 72, and of affirmative
proceedings he commenced in Mongolia, see Dkt 139, in which he would similarly use any
discovery from K2 that was granted here. Mr. Batbold served his subpoenas on October 8,
2021. On June 30, 2022, K2 moved to quash, see Dkts. 113 & 115, and on July 15, 2022,
Mr. Batbold cross-moved to compel, see Dkts. 130–131. Those cross-motions are currently
pending.

We write to inform the Court that the Royal Court of Jersey recently lifted the freezing
injunction in place against Mr. Batbold and dismissed the proceedings against him in their
entirety. This decision by the Royal Court of Jersey follows similar decisions issued by the
courts in Hong Kong, England, the British Virgin Islands, and in Singapore. Mr. Batbold has
now prevailed in every case pending against him. In addition, all proceedings in Mongolia
have come to a close.

Mr. Batbold respectfully requests in light of these developments that the Court dismiss these
proceedings without prejudice as moot. A notice of voluntary dismissal is filed concurrently
herewith.

We thank the Court for its kind consideration.
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Respectfully submitted,

/s Orin Snyder

Orin Snyder

Counsel for Petitioner

cc:    All Counsel of Record (via ECF)
